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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

  OPENPRINT LLC,

                Plaintiff,
                                                               C.A. No.: 17-1077-GMS
         v.

  HP INC.,

                Defendant.


                 STIPULATION AND [PROPOSED] ORDER TO DISMISS

        IT IS HEREBY STIPULATED AND AGREED, pursuant to Fed. R. Civ. P. 41(a)(2), by

Plaintiff OpenPrint LLC ("Plaintiff'') and Defendant HP Inc. ("Defendant"), through            their

undersigned attorneys, and subject to the approval of the Court, that Plaintiffs claims for relief

against Defendant are dismissed with prejudice and Defendant's claims, defenses or counterclaims

for relief against Plaintiff are dismissed without prejudice, and with all attorneys' fees, costs of

 court and expenses borne by the party incurring same.
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 February 1, 2018
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                                        ATTORNEYS FOR DEFENDANT
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                                       ....\.
           IT IS SO ORDERED this   L            day of Febr


                                                             Oli ble Gregory        et
                                                     United States District Court Judge
